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1    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
2    Todd M. Friedman, Esq. (SBN: 216752)
     tfriedman@attorneysforconsumers.com
3
     324 S. Beverly Dr., #725
4    Beverly Hills, CA 90212
5
     Telephone: (877) 206-4741
     Facsimile: (866) 633-0228
6    Attorney for Plaintiff
7
                       UNITED STATES DISTRICT COURT
8
                      CENTRAL DISTRICT OF CALIFORNIA
9
     TAVIA LAWSON,                                  ) Case No. 2:14-cv-05152-JEM
10
                                                    )
                   Plaintiff(s)
11                                                  ) NOTICE OF SETTLEMENT
12         vs.                                      )
                                                    )
13
     MIDLAND CREDIT                                 )
14   MANAGEMENT, INC.,                              )
                   Defendant.                       )
15
                                                    )
16

17
           NOW COMES THE PLAINTIFF by and through her attorney to
18

19   respectfully notify this Honorable Court that this case has settled. Plaintiff
20
     requests that this Honorable Court vacate all pending hearing dates and allow
21

22   sixty (60) days with which to file dispositive documentation. A Joint Stipulation
23
     for Dismissal will be forthcoming.
24

25

26                                Respectfully submitted this 11th day of February, 2015.
27                                          By: s/Todd M. Friedman
                                                TODD M. FRIEDMAN
28
                                                Law Offices of Todd M. Friedman, P.C.
                                                Attorney for Plaintiff

                                         Notice of Settlement - 1
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1    Filed electronically on this 11th day of February, 2015, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable Judge John E. McDermott
6    United States District Court
7    Central District of California
8
     Leah S Strickland
9    Solomon Ward Seidenwurm & Smith LLP
10
     Thomas F Landers , Jr
11   Solomon Ward Seidenwurm & Smith LLP
12

13
     This 11th day of February, 2015.
14
     s/Todd M. Friedman
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     Todd M. Friedman
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                                        Notice of Settlement - 2
